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8
                                             UNITED STATES DISTRICT COURT
9
                                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. 1:11-cr-187 LJO
12
                               Plaintiff,                STIPULATED MOTION AND ORDER TO
13                                                       REDUCE SENTENCE PURSUANT TO 18
               v.                                        U.S.C. § 3582(c)(2)
14
     JESUS RAMON AVILEZ,                                 RETROACTIVE DRUGS-MINUS-TWO
15                                                       REDUCTION CASE
                               Defendant.
16                                                       Judge: Honorable LAWRENCE J. O’NEILL

17             Defendant, JESUS RAMON AVILEZ, by and through his attorney, Assistant Federal
18   Defender Hannah R. Labaree, and plaintiff, UNITED STATES OF AMERICA, by and through
19   its counsel, Assistant U.S. Attorney Kathleen A. Servatius, hereby stipulate as follows:
20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment
22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission
23   pursuant to 28 U.S.C. § 994(o);
24             2.         On July 22, 2013, this Court sentenced Mr. Avilez to a term of 89 months
25   imprisonment;
26             3.         His total offense level was 29, his criminal history category was II, and the
27   resulting guideline range was 97 to 121 months. He received a sentence below the applicable
28   range pursuant to 18 U.S.C. § 3553(a);

     Stipulation and Order Re: Sentence Reduction           1
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1              4.         The sentencing range applicable to Mr. Avilez was subsequently lowered by the
2    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
3    see 79 Fed. Reg. 44,973;
4              5.         Mr. Avilez’ total offense level has been reduced from 29 to 27, and his amended
5    guideline range is 78 to 97 months;
6              6.         Accordingly, the parties request the Court enter the order lodged herewith
7    reducing Mr. Avilez’ term of imprisonment to 78 months, effective November 1, 2015.
8
     Respectfully submitted,
9
     Dated: September 21, 2015                          Dated: September 21, 2015
10
     BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
11   United States Attorney                             Federal Defender
12
13   /s/Kathleen A. Servatius____ _                     /s/ Hannah R. Labaree
     KATHLEEN A. SERVATIUS                              HANNAH R. LABAREE
14   Assistant U.S. Attorney                            Assistant Federal Defender

15   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           JESUS RAMON AVILEZ
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     Stipulation and Order Re: Sentence Reduction          2
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1                                                    ORDER
2              This matter came before the Court on the stipulated motion of the defendant for reduction
3    of sentence pursuant to 18 U.S.C. § 3582(c)(2).
4              The parties agree, and the Court finds, that Mr. Avilez is entitled to the benefit
5    Amendment 782, which reduces the total offense level from 29 to 27, resulting in an amended
6    guideline range of 78 to 97 months.
7              IT IS HEREBY ORDERED that the term of imprisonment imposed in July 2013 is
8    reduced to a term of 78 months, effective November 1, 2015. If this sentence is less than the
9    amount of time the defendant has already served as of November 1, 2015, the sentence is
10   reduced to a time served sentence. In no event is this Order to be understood as authorizing
11   release prior to November 1, 2015 or authorizing a term of imprisonment less than the term
12   actually served on November 1, 2015.
13             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
14   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
15   reduction in sentence, and shall serve certified copies of the amended judgment on the United
16   States Bureau of Prisons and the United States Probation Office.
17             Unless otherwise ordered, Mr. Avilez shall report to the United States Probation Office
18   within seventy-two hours after his release.
19   IT IS SO ORDERED.
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          Dated:        September 22, 2015                      /s/ Lawrence J. O’Neill
21                                                           UNITED STATES DISTRICT JUDGE
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     Stipulation and Order Re: Sentence Reduction        3
